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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         JUDE DAVID SMITH,
                                   7                                                        Case No. 23-cv-06548-DMR
                                                        Plaintiff,
                                   8
                                                 v.                                         SUA SPONTE JUDICIAL REFERRAL
                                   9                                                        FOR PURPOSES OF DETERMINING
                                         CARRIE LYNN VENCIL, et al.,                        RELATIONSHIP OF CASES
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On December 20, 2023, Plaintiff Jude David Smith filed this action. Pursuant to Civil

                                  14   Local Rule 3-12(c), the court sua sponte refers this case to Judge Rita F. Lin to determine whether

                                  15   it is related to Smith v. Vencil, 23-cv-05530 RFL.

                                  16          IT IS SO ORDERED.

                                  17   Dated: December 27, 2023

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                                  19                                                    DONNA M. RYU
                                                                                        Chief Magistrate Judge
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